                  Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.1 Page 1 of 13

AO 442 (Rev . 11/11) Arrest Warrant


                                           UNITED STATES DISTRICT COURT FILED IN UNITED STATES DISTRICT
                                                                                                            COURT, DISTRICT OF UTAH
                                                                    for the
                                                                                                                   APR 28 2021
                                                            District of Columbia
                                                                                                        BY
                                                                                                          D. MARK JONES, CLERK
                                                                                                                  ... . __ ... ·
                                                                                                                                         i
                   United States of America                                                                         DEPUlY CllaaRK · ·
                                  V.
                                                                      ) Case: 1 :21-mj-004O3
                 Landon Kenneth Copeland                              ~ Assigned To : Menweather, Robtn M.
                                                                      ) Assign. Date : 4/27/2021
                                                                      ) Description: COMPLAINT WI ARREST WARRANT
                                                                      )
                               Defendant


                                                          ARREST WARRANT
To :       Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)                                        Landon Kenneth Copeland
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment               0    Superseding Indictment        0 Information      0 Superseding Information            N    Complaint
0 Probation Violation Petition                 0 Supervised Release Violation Petition   • Violation Notice           O Order of the Court

 This offense is briefly described as follows:

  18 U.S.C. § 11 l(a)(l) - Assaulting, Resisting, or Impeding Certain Officers or Employees;
  18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
  18 U.S.C. § 1752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
  Lawful Authority;
  40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.           ....,,IJ/,,
                                                                                                        p       ~ -,iWMJ11.tfh
 Date:           04/27/2021
                                                                                           Issuing officer's signature


 City and state:                       Washington, D.C.                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                                    Return

            This warrant was received on (date) _ _ _ _ _ _ _ , and the person was arrested on (date)
 at (city and state)


 Date: - - - - - - - -
                                                                                          Arresting officer 's signature



                                                                                             Printed name and title
                   Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.2 Page 2 of 13

AO 442 (Rev . l 1/11) Arrest Warrant (Page 2)




                       This second page contains personal identifiers provided for law-enforcement use only
                       and therefore should not be filed in court with the executed warrant unless under seal.

                                                             (Not for Public Disclosure)

Name of defendant/offender: La=n=d=-o=--=nc::. . K=--=e
                                                 =.c =-nn=e--==th=------=C
                                                        =                :. o:.: .cp:. .: e=la=n=--=d= - - - - - - - - - - - - - - - - - - - - - - - - - - - -
Known aliases:
Last known residence:                  2012 S Bubbling Well Lane, Apple Valley, UT 84737

Prior addresses to which defendant/offender may still have ties:                   1511 St. Francois Rd, Bonne Terre, MO 63628;


Last known employment:                    Diggin' Riggin'

Last known telephone numbers:                   870-631-0852

Place of birth:    Rolla, Missouri

Date of birth:            6/15/ 1987

Social Security number:                  XXX-XX-XXXX

Height:       6'01"                                                              Weight:         200

Sex:      Male                                                                   Race:         White

Hair:     Brown                                                                  Eyes:          Green

Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:                Marijuana / False Statements (US Army, 2013); Burglary of barracks (Army, 2013);
 Driving while suspended (MO 2016); DUI (MT 2015); Disorderly Conduct (MT 2015); Carrying weapon / firearm in vehicle (MT 2014)

Known family, friends, and other associates (name, relation, address, phone number):


FBI number:            89B-WF-3368293

Complete description of auto :


                                                Department of Homeland Security
 Investigative agency:
Investigative agency address:
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable) :




Date of last contact with pretrial services or probation officer (if applicable) :
              Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.3 Page 3 of 13

AO 91 (Rev. 11 / 11) Criminal Complaint



                                          UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District of Columbia

                  United States of America                            )
                                 V.                                   )   Case: 1:21-mj-004O3
                Landon Kenneth Copeland                               )   Assigned To : Meriweather, Robin M.
                                                                      )   Assign. Date : 4/27/2021
                    DOB:XXXXXX
                                                                      )      Description: COMPLAINT WI ARREST WARRANT
                                                                      )
                                                                      )
                            Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ _ _ _Ja_n_u_ary
                                          ~ 6~,_2_02_1_ _ __ in the county of _ _ _ _ _ _ __ _ _ in the
                           in the District of       Columbia      , the defendant(s) violated:

              Code Section                                                      Offense Description
        18 U.S.C. § 111 (a)(l) - Assaulting, Resisting, or Impeding Certain Officers or Employees,
        18 U.S.C. § 231(a)(3)- Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.


          This criminal complaint is based on these facts:
   See attached statement of facts.




          N   Continued on the attached sheet.



                                                                                                 Complainant 's signature

                                                                                    William Matos-Ginorio, Special Agent
                                                                                                 Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.


Date:             04/27/2021
                                                                                                   Judge's signature

City and state:                           Washington, D.C.                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                 Printed name and title
  Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.4 Page 4 of 13




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              Case No:

               v.
                                                      VIOLATIONS:

LANDON KENNETH COPELAND,                              18 U.S.C. § lll(a)(l)
                                                      (Assaulting, Resisting, or Impeding
                                                      Certain Officers or Employees)

Defendant.                                            18 U.S.C. § 231(a)(3)
                                                      (Obstruction of Law Enforcement During
                                                      Civil Disorder)

                                                      18 U.S.C. § 1752(a)(l)
                                                      (Knowingly Entering or Remaining in any
                                                      Restricted Building or Grounds Without
                                                      Lawful Authority)

                                                      40 U.S.C. § 5104(e)(2)
                                                      (Violent Entry and Disorderly Conduct on
                                                      Capitol Grounds)


                                              ORDER

    This matter having come before the Court pursuant to the application of the United States

 to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

 the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

  and serious jeopardy to the investigation, the United States has established that a compelling

                    governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.


                                                  1
  Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.5 Page 5 of 13




       2.      IT IS FURTHER ORDERED that the Clerk' s office shall delay any entry on the

public docket of the arrest warrant until it is executed.




Date: 04/27/2021
                                                       ROBIN M. MERIWEATHER
                                                       UNITED STATES MAGISTRATE JUDGE




                                                  2
                                            t;ase: -1:zPageID.6
   Case 4:21-mj-00030-PK Document 1 Filed 04/28/21      ·1 -mJ-UU4U.J
                                                                   Page 6 of 13
                                            Assigned To : Meriweather, Robin M.
                                            Assign. Date : 4/27/2021
                                            Description: COMPLAINT WI ARRE.ST WARRAN7

                                   STATEMENT OF FACTS

        Your affiant, William Matos-Ginorio, is a Special Agent with the Department of Homeland
Security (DHS), Federal Protective Service (FPS) assigned to the Federal Bureau oflnvestigation
(FBI), DC Violent Crimes Task Force (DCVCTF) as a Task Force Officer (TFO). In my duties as
a special agent, I am responsible for investigating violent crimes to include but not limited to
kidnappings, bank robberies, assaults, armed carjackings, and threats to government officials.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021 , the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021 , a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m. , individuals in the crowd forced entry into the U.S . Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to-and did-evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
  Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.7 Page 7 of 13




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations oflocal and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about January 19, 2021, while investigating social media accounts believed to be
connected to persons present at the U.S. Capitol building on January 6, 2021 , an FBI analyst
accessed a Facebook account bearing the username "lostforevermore." The analyst observed that
photographs posted to this account appeared similar to an unidentified man who was suspected of
having committed criminal offenses on the Capitol grounds. The analyst obtained photographs
made publicly available through this Facebook account.

        Through a review of these photographs, I learned that on January 16, 2021 , this account
posted multiple photographs that appear to have been taken in Washington, D.C. Several of these
photographs, captioned "The beginning of the libertarian right," depicted a large gathering of
people on the National Mall. Based on the size and location of the gathering and the presence of
Trump 2020 flags, I assess that these photographs were taken on January 6, 2021 . Also on January
16, 2021 , photos of a person, later identified as Landon Kenneth Copeland, were posted to the
lostforevermore Facebook account. In one set of images, Copeland and a woman posed for a
photograph at the World War II Memorial, in front of the granite column representing Utah.
   Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.8 Page 8 of 13




        In another set of images, Copeland posed for a "selfie" photograph with this same woman
at the Washington Monument.




        In these photographs, Copeland wore a blue sweatshirt over a red collared shirt, with the
collar visible through the sweatshirt's neck. He also wore a brown/tan knit cap with a striped
pattern. Copeland had a close-cropped brown beard with grey hairs around his chin.

        Based on the investigation to date, Copeland entered the Capitol grounds on January 6,
2021, where he assaulted law enforcement officers and obstructed their efforts to carry out their
duties on January 6. I have reviewed three videos depicting Copeland's conduct: one from U.S.
Capitol Police footage, one from YouTube, and one from Instagram, that depict Copeland's
assaultive and obstructive conduct. In each of these videos, Copeland wore the same distinct
clothing, and had the same distinct beard, as described above.

       In the U.S. Capitol Police footage and in the YouTube video, Copeland was present with a
crowd of people who appeared to be attempting to breach the police line. Copeland stood at the
front of the crowd, near the police line, and shouted at officers. Shortly thereafter, an unknown
   Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.9 Page 9 of 13




person approached a police officer and began shouting at the officer. From behind, Copeland
pushed that unknown person into the officer, and the officer appeared to fall to the ground. Other
officers, bearing riot shields, pushed forward against the crowd, in an apparent attempt to protect
the fallen officer. Copeland grabbed one of the riot shields and pushed back, against the police
line. He also grabbed at an officer's jacket and pushed that officer backward. Then, he lowered his
body to block officers as they advanced. After a brief struggle, the police forced Copeland back.
Screenshots from this footage are included below:
Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.10 Page 10 of 13
 Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.11 Page 11 of 13




        In the Instagram footage, Copeland and other people had grabbed a metal fence serving as
a barricade, and were trying to pull the barricade away from law enforcement officers. Based on
their uniforms, these officers appeared to be from the U.S. Capitol Police and the Metropolitan
Police Department. One or more officers deployed OC spray against members of the crowd,
including Copeland. In response, Copeland pushed or threw the fence toward multiple law
enforcement officers.
  Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.12 Page 12 of 13




       On February 1, 2021 , in southern Utah, an FBI agent interviewed an individual who has
known Copeland for several years. This person informed the FBI that Copeland took a week off
work to travel to Washington, D.C., for the rally to be held on January 6, 2021. After Copeland
returned to Utah, Copeland told this person about the events at the rally and admitted to getting
into a scuffle with police outside the Capitol building. This person identified Copeland and
Copeland' s girlfriend in the photographs at the at the World War II Memorial and the Washington
Monument, described above. This person further identified Copeland in the video segments
described above.

        On February 11 , 2021 , the FBI interviewed Copeland. Copeland admitted that he traveled
to Washington, D.C., to attend a rally on January 6, 2021, and was present in a crowd of people
outside the Capitol building. Copeland identified himself in the photographs and videos described
above. Copeland admitted to fighting with police officers. According to Copeland, he felt that
police officers were trying to "penetrate the line" of the protesters and "steal" individual members
of the crowd, including one person who Copeland described as having been shot in the face by an
officer. Copeland claimed that he did not enter the Capitol building.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Landon Kenneth Copeland violated 18 U.S.C. § 11 l(a)(l), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with a designated person while that person
is engaged in the performance of official duties, or on account of that person's performance of
official duties. For the purposes of Section 111 of Title 18, a designated person includes officers
or employees of the United States or of any agency in any branch of the United States Government.
This includes officers of the US.S. Capitol Police, and also includes members of the Metropolitan
Police Department when, as in the events described above, such officers were assisting a federal
officer or employee in the performance of the federal officer's duties.
  Case 4:21-mj-00030-PK Document 1 Filed 04/28/21 PageID.13 Page 13 of 13




        Your affiant submits there is probable cause to believe that Landon Kenneth Copeland
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your affiant also submits that there is probable cause to believe that Landon Kenneth
Copeland violated 18 U.S .C. § 1752(a)(l), which makes it a crime to knowingly enter or remain
in any restricted building or grounds without lawful authority to do.

      Finally, your affiant also submits that there is probable cause to believe that Landon
Kenneth Copeland violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and
knowingly engage in an act of physical violence in the Grounds or any of the Capitol Buildings.




                                                     William Matos-Ginorio
                                                     FBI, DCVCTF




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 27th day of April 2021.



                                                     ROBIN MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
